Case 2:19-cv-01156-DMG-PJW Document 44 Filed 08/22/19 Page 1 of 3 Page ID #:386



   1

   2

   3

   4

   5

   6

   7

   8                      UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
  10

  11   PARAMOUNT PICTURES                   Case No.: CV 19-1156-DMG (PJWx)
       CORPORATION, et al.,
  12                                        ORDER DENYING DEFENDANTS’
                                            EX PARTE APPLICATION TO
  13                    Plaintiffs,         COMPEL MEDIATION [40]
           v.
  14   OMNIVERSE ONE WORLD
  15   TELEVISION, INC., et al.,
  16                   Defendants.
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
Case 2:19-cv-01156-DMG-PJW Document 44 Filed 08/22/19 Page 2 of 3 Page ID #:387



   1         On August 19, 2019, Defendants Omniverse One World Television, Inc. and

   2   Jason M. Demeo filed an Ex Parte Application to Compel Mediation and Stay

   3   Discovery Pending Mediation.            [Doc. # 40.]      On August 20, 2019, all named

   4   Plaintiffs filed an Opposition. [Doc. # 41.]

   5

   6         Defendants have not shown that they are entitled to ex parte relief.

   7   Defendants suggest that they will be prejudiced absent immediate judicial

   8   intervention because “Plaintiffs have propounded voluminous discovery requests

   9   and issu[ed] a deposition notice, all to drive up the costs of litigation.” See Ex
  10   Parte Appl. at 4 [Doc. # 40].1 Defendants have not shown that Plaintiffs’ discovery
  11   requests are otherwise improper (e.g., that they exceed the scope of discovery
  12   authorized by the Federal Rules). Thus, incurring costs responding to such requests
  13   cannot constitute “irreparable prejudice” warranting ex parte relief. See Mission
  14   Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995) (“To
  15   show irreparable prejudice, it will usually be necessary to refer to the merits of the
  16   accompanying proposed motion, because if it is meritless, failure to hear it cannot
  17   be prejudicial.”). Further, if these discovery requests were as unduly burdensome
  18   as Defendants claim, then they should have sought a protective order from the
  19   Honorable Patrick J. Walsh, United States Magistrate Judge, instead of seeking a
  20   stay of all discovery from the undersigned. See Notice of Assignment at 1 [Doc.
  21   # 7]; Fed. R. Civ. P. 26(c)(1).
  22   //
  23   //
  24   //
  25   //
  26   //
  27
             1
                 All page references herein are to page numbers inserted by the CM/ECF system.
  28
                                                     -2-
Case 2:19-cv-01156-DMG-PJW Document 44 Filed 08/22/19 Page 3 of 3 Page ID #:388



   1         The Court will issue an order to all parties to participate in mandatory

   2   settlement proceedings after the Scheduling Conference, which will be scheduled

   3   after Defendants file their Answer.

   4

   5         Therefore, Defendants’ Ex Parte Application is DENIED in its entirety.

   6

   7   IT IS SO ORDERED.

   8

   9   DATED: August 22, 2019                ____________________________
                                             DOLLY M. GEE
  10                                         UNITED STATES DISTRICT JUDGE
  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                              -3-
